Case: 23-40658            Document: 56-1         Page: 1      Date Filed: 08/22/2024




           United States Court of Appeals
                for the Fifth Circuit
                                   ____________                     United States Court of Appeals
                                                                             Fifth Circuit


                                    No. 23-40658
                                                                           FILED
                                                                     August 22, 2024
                                  Summary Calendar
                                  ____________                        Lyle W. Cayce
                                                                           Clerk
United States of America,

                                                                    Plaintiff—Appellee,

                                          versus

Jose Alonso Saldana-Alaniz,

                                            Defendant—Appellant.
                   ______________________________

                   Appeal from the United States District Court
                       for the Southern District of Texas
                            USDC No. 5:22-CR-822-1
                   ______________________________

Before Smith, Stewart, and Duncan, Circuit Judges.
Per Curiam: *
       Jose Saldana-Alaniz entered a conditional plea of guilty to possession
of ammunition by an illegal alien in violation of 18 U.S.C. § 922(g)(5)(A) and
former 18 U.S.C. § 924(a)(2). He challenges the denial of his motion to
suppress evidence—specifically, the ammunition that formed the basis of his
conviction. He reserved in writing the right to appeal this ruling when he


       _____________________
       *
           This opinion is not designated for publication. See 5th Cir. R. 47.5.
Case: 23-40658        Document: 56-1       Page: 2    Date Filed: 08/22/2024




                                 No. 23-40658


entered his conditional guilty plea. See Fed. R. Crim. P. 11(a)(2).
       We review the factual findings for clear error and the ultimate consti-
tutionality of law enforcement action de novo. United States v. Robinson,
741 F.3d 588, 594 (5th Cir. 2014). “[T]he scope of consent to a search is a
question of law” that we review de novo. United States v. Iraheta, 764 F.3d
455, 460 (5th Cir. 2014).
       The Fourth Amendment protects “[t]he right of the people to be
secure in their persons, houses, papers, and effects, against unreasonable
searches and seizures,” U.S. Const. amend. IV, so “the ultimate touch-
stone of the Fourth Amendment is reasonableness,” Heien v. North Carolina,
574 U.S. 54, 60 (2014) (internal quotation marks and citation omitted). To
measure the scope of consent, the test is “objective reasonableness—what
would the typical reasonable person have understood by the exchange be-
tween the officer and the suspect?” Iraheta, 764 F.3d at 462 (internal quota-
tion marks and citation omitted).
       Saldana-Alaniz fails to show that a reasonable person would not have
understood that he was consenting to a search of his one-room efficiency
apartment when he told officers that they could search his apartment. See
id.; see also United States v. Sarli, 913 F.3d 491, 495 (5th Cir. 2019). More-
over, even if the officers failed to appreciate a limitation that he contends he
placed on his consent, that mistake was reasonable given that Saldana-Alaniz
expressly agreed to the search and told them he lived in the efficiency. See
Heien, 574 U.S. at 60–61.
       AFFIRMED.




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